Case 18-15398-RG   Doc 12   Filed 04/02/18 Entered 04/02/18 18:42:46   Desc Main
                            Document     Page 1 of 10
Case 18-15398-RG   Doc 12   Filed 04/02/18 Entered 04/02/18 18:42:46   Desc Main
                            Document     Page 2 of 10
Case 18-15398-RG   Doc 12   Filed 04/02/18 Entered 04/02/18 18:42:46   Desc Main
                            Document     Page 3 of 10
Case 18-15398-RG   Doc 12   Filed 04/02/18 Entered 04/02/18 18:42:46   Desc Main
                            Document     Page 4 of 10
Case 18-15398-RG   Doc 12   Filed 04/02/18 Entered 04/02/18 18:42:46   Desc Main
                            Document     Page 5 of 10
Case 18-15398-RG   Doc 12   Filed 04/02/18 Entered 04/02/18 18:42:46   Desc Main
                            Document     Page 6 of 10
Case 18-15398-RG   Doc 12   Filed 04/02/18 Entered 04/02/18 18:42:46   Desc Main
                            Document     Page 7 of 10
Case 18-15398-RG   Doc 12   Filed 04/02/18 Entered 04/02/18 18:42:46   Desc Main
                            Document     Page 8 of 10
Case 18-15398-RG   Doc 12   Filed 04/02/18 Entered 04/02/18 18:42:46   Desc Main
                            Document     Page 9 of 10
Case 18-15398-RG   Doc 12    Filed 04/02/18 Entered 04/02/18 18:42:46   Desc Main
                            Document      Page 10 of 10
